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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 0:24-cv-60591-DAMIAN/Valle

  CONSWALLO TURNER, TIESHA
  FOREMAN, ANGELINA WELLS,
  PAULA LANGLEY, VERONICA                                    CLASS ACTION
  KING, NAVAQUOTE, LLC
  and WINN INSURANCE AGENCY, LLC,
  individually and on behalf of all others
  similarly situated,                                        (Jury Trial Demanded)

                Plaintiffs,

  v.

  ENHANCE HEALTH, LLC,
  TRUECOVERAGE, LLC,
  SPERIDIAN TECHNOLOGIES, LLC,
  NUMBER ONE PROSPECTING, LLC
  d/b/a MINERVA MARKETING,
  BAIN CAPITAL INSURANCE FUND L.P.,
  DIGITAL MEDIA SOLUTIONS LLC,
  NET HEALTH AFFILIATES, INC.,
  BENEFITALIGN, LLC,
  MATTHEW B. HERMAN,
  BRANDON BOWSKY, GIRISH PANICKER,
  and MATTHEW GOLDFUSS,

              Defendants.
  __________________________________________/

       PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
         OF CLAIMS AGAINST DEFENDANT DIGITAL MEDIA SOLUTIONS LLC
                           D/B/A PROTECT HEALTH

         Plaintiffs, pursuant to Fed. R. Civ. P. 41(a)(1), voluntarily dismiss their claims against

  Defendant Digital Media Solutions LLC d/b/a Protect Health without prejudice.
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                                                     CASE NO. 0:24-cv-60591-DAMIAN/Valle


  Dated: May 5, 2025                         Respectfully submitted:

   By: /s/ Jason Kellogg                            By: /s/ Jason R. Doss
   Jason K. Kellogg, P.A.                           Jason R. Doss
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 5, 2025, a true and correct copy of the foregoing was

  filed via CM/ECF and served upon parties registered with CM/ECF in this case.


                                                    By: /s/ Jason Kellogg
                                                            Jason Kellogg
